 Case 8:19-cv-02284-SHK Document 19 Filed 10/16/20 Page 1 of 1 Page ID #:780




 1   Troy D. Monge, Esq.
     Law Offices of Martin Taller, APC
 2   2300 E. Katella Ave, Suite 440
 3   ANAHEIM, CALIFORNIA 92806
     TELEPHONE (714) 385-8100
 4
     FACSIMILE (714) 385-8123
 5   troymonge@hotmail.com
 6
     Attorney Bar #217035
 7   Attorneys for Sylvia Soans
 8
 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
     SYLVIA SOANS,                            )   No. SACV 19-02284 SHK
12                                            )
13           Plaintiff,                       )   [PROPOSED] ORDER AWARDING
                                              )   EQUAL ACCESS TO JUSTICE
14                  v.                        )   ACT ATTORNEY FEES AND
15                                            )   COSTS
     ANDREW SAUL,                             )
16
     Commissioner of Social Security,         )
17                                            )
18           Defendant.                       )
                                              )
19
             Based upon the parties’ Stipulation for Award and Payment of Attorney
20
     Fees:
21
             IT IS ORDERED that the Commissioner shall pay attorney fees and
22
     expenses the amount of FOUR THOUSAND FOUR HUNDRED SIXTY-SIX
23
     DOLLARS and FIFTEEN CENTS ($4,466.15), and costs under 28 U.S.C. § 1920
24
     in the amount of FOUR HUNDRED DOLLARS ($400.00), as authorized by 28
25
     U.S.C. § 2412(d), 1920, subject to the terms of the above-referenced Stipulation.
26        Dated: October 16, 2020
27                            __________________________________________
                              THE HONORABLE SHASHI H. KEWALRAMANI
28
                              UNITED STATES MAGISTRATE JUDGE


                                              1
